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 6
     ATTORNEYS FOR PLAINTIFFS, CARPENTERS SOUTHWEST
 7   ADMINISTRATIVE CORPORATION and BOARD OF TRUSTEES
     FOR THE CARPENTERS SOUTHWEST TRUSTS
 8
 9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11                                      WESTERN DIVISION

12
13   CARPENTERS SOUTHWEST                        CASE NO. 2: 16-cv-08040-MWF-SK
     ADMINISTRATIVE CORPORATION,
14   a California non-profit corporation; and
     BOARD OF TRUSTEES FOR THE                   PLAINTIFFS' OPPOSITION TO
15   CARPENTERS SOUTHWEST                        DEFENDANTS' EX PARTE
     TRUSTS,                                     APPLICATION TO CONTINUE
16                                               HEARING DATE
                          Plaintiffs,
17
     V.
18
     H K B Inc., an Arizona corporation, doing
19   business as SOUTHWESTlNDUSTRIAL
     RIGGING; HARRY KENT BAKER,
20   an individual; SCOTT WILLIAM
     MILLER, an individual; JAMES
21   DOUGLAS WILSON, an individual;
     and DOES 1 through 10, inclusive,
22
                          Defendants.
23
24   Ill
25   Ill
26   Ill
27   Ill
28   Ill
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 1         Plaintiffs, BOARD OF TRUSTEES FOR THE CARPENTERS
 2   SOUTHWEST TRUSTS ("BOARD") and CARPENTERS SOUTHWEST
 3   ADMINISTRATIVE CORPORATION ("CSAC", collectively referred to as
 4   "Plaintiffs") hereby submit their Opposition to Defendants' Ex Parte Application to
 5   Continue Hearing Date.
 6                                                 I.
 7          DEFENDANTS' APPLICATION IS UNWARRANTED IN THAT
 8        DEFENDANTS SEEK COURT INTERVENTION TO REMEDY AN
 9                         "EMERGENCY" THAT THEY CREATED.
10         The court entet1ains ex parte applications only in extraordinary
11   circumstances. See Me Vay v. FedEx Ground, 2003 WL 22769080, *2 (C.D. Cal.
12   2003); In re Intermagnetics Am., Inc., 101 B.R. 191 (C.D. Cal. 1989).
13         In the present case, Defendants seek the Court' s intervention to remedy an
14   "emergency" entirely of their own doing: Defendants set the hearing date for their
15   Motion to Dismiss for January 9, 2017. Presumably, they were aware ofthe reply
16   deadline set forth in L.R. 7-10 and the Court's calendar. The Court's calendar is
17   prominently set forth on the Court's internet site; hence, litigants can hardly
18   complain that such information is unavailable or hidden. Despite this, Defendants
19   set their hearing date for a date that left limited time to prepare a reply.
20         Plaintiffs filed their Opposition on December 19, 201 6. Defendants waited
21   until the mid afternoon of December 20, 2016 to request a continuance of the
22   motion hearing date of Plaintiffs. When Plaintiffs declined the request (within two
23   hours of receiving Defendants' request),' Defendants then expended their time and
24   effort in preparing the ex pat1e application. Hence, by devoting their time to
25   matters other than preparing a reply, Defendants further exacerbated the
26   circumstances that they created.
27
           1
28             See Torres Decl ' n, Ex. 1, p. 1.
                                                   1
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 1          [T]o justify ex parte relief ... it must be established that the moving
 2          party is without fault in creating the crisis that requires ex pmie relief,
 3         or that the crisis occurred as a result of excusable neglect.
 4
 5         To show that the moving party is without fault, or guilty only of
 6         excusable neglect, requires more than a showing that the other party is
 7         the sole wrongdoer. It is the creation of the crisis--the necessity for
 8         bypassing regular motion procedures--that requires explanation. For
 9         example, merely showing that trial is fast approaching and that the
10         opposing party still has not answered crucial interrogatories is
11          insufficient to justify ex parte relief. The moving party must also show
12         that it used the entire discovery period efficiently and could not have,

13         with due diligence, sought to obtain the discovery earlier in the
14         discovery period.
15   Mission Power Eng'g Co. v. Continental Cas. Co., 883 F. Supp. 488, 492-93 (C.D.
16   Cal. 1995). See also Arellano v. Kellermey er Bldg. Serv., LLC, 2014 U.S. Dist.

17   LEXIS 102053, *5 (S.D. Cal. 2014) (for an ex parte motion to be granted, "it must

18   be established that the moving party is without fault in creating the crisis or that the

19   crisis occurred as a result of excusable neglect."); Brantley v. Borg-Warner Morse
20   Tee, Inc., 2013 U.S. Dist. LEXIS 132275, * 14 (S.D. Cal. Sept. 13, 2013) (denying
21   ex parte application to continue discovery where "counsel sat on their hands, did
22   little to litigate the case as the months passed by, served discovery only days before
23   the discovery cut off, did nothing to resolve their disputes in a professional,
24   competent manner, and then dumped everything in the Court's lap at the last
25   minute." ).

26          In the present application, Defendants both created and then exacerbated the

27   crisis, and have now "dumped everything in the Court's lap at the last minute". !d.

28   Hence, their application should be denied.

                                                 2
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 1
                                                  II.
 2
            DEFENDANTS HAVE NOT SHOWN IRREPARABLE PREJUDICE.
 3
              [T]o justify ex parte relief ... the evidence must show that the moving
 4            party's cause will be irreparably prejudiced if the underlying motion is
 5            heard according to regular noticed motion procedures . ...
 6            To show iiTeparable prejudice, it will usually be necessary to refer to
 7            the merits of the accompanying proposed motion, because if it is

 8            meritless, failure to hear it cannot be prejudicial. A sliding scale is

 9            used to measure the threat of prejudice. If the threatened prejudice

10            would not be severe, then it must be apparent that the underlying
              motion has a high likelihood of success on the merits. If drastic harm
11
              is threatened, then it is sufficient to show that there are close issues
12
              that justify the cow1's review before the party suffers the harm.
13
     Mission Power Eng'g Co. v. Continental Cas. Co., 883 F. Supp. at 492.
14
              In the present case, the "threatened prejudice" is minimal or non existent: If
15
     the Court denies the requested relief, Defendants wi ll have to file a reply in less
16
     than the full seven days that would typically be available pursuant to L.R. 7-10.
17
     Reply papers are not even compulsory pursuant to L.R. 7- 10. While Defendants
18   complain that the Plaintiff's Opposition "raises several new factual and legal
19   arguments" (Application, p. 2, line 7), a fair reading of the Opposition shows that
20   Plaintiffs merely rebutted the arguments that the Defe ndants made in their Motion;
21   the only arguably new issues were Plaintiffs' requests for jurisdictional discovery
22   and leave to amend (both in the event that the court is inclined to grant the motion

23   to dismiss). Having prepared the Motion, it would seem that the Defendants are

24   likely familiar with the vast majority of the topics addressed in the Opposition.

25   Hence, while Defendants might face a minor challenge in completing their reply in
     less than the full seven day period that is typically available, they have not been
26
     irreparably prejudiced.
27
     Ill
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                                                   3
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 1
                                                  III.
 2
               DEFENDANTS ATTEMPT TO MISCHARACTERIZE PLAINTIFFS'
 3                              COUNSEL'S COMMUNICATIONS .
 4               In an apparent attempt to turn the focus away from Defendants ' own actions
 5     that caused Defendants to face the complained of time limitations, Defendants
  6    point to email communications between the parties' counsel.
 7               The email communications commence with Plaintiffs' counsel 's email to

 8     Defendants' counsel, in which Plaintiffs' counsel requested an additional month to

 9     file a responsive pleading in HKB, Inc. v. Board of Trustees f or the Southwest

10     Carpenter 's Southwest Trust, et af, No.2: 16-cv-03799-DJH (D. AZ. 20 16). See
       Torres Decl ' n, Ex. 1, p. 5. Plaintiffs ' counsel made the request with the goal of
11
       saving both parties the costs of litigation in two forums simultaneously. Id.
12
       Defendants' counsel declined this request, thereby forcing the parties to waste time
13
       and resources in litigating in two forums . Jd. , pp. 4-5. Within minutes of receiving
14 .
       Defendants' counsel ' s email, Plaintiffs ' counsel responded, inter alia, requesting
15
       reconsideration. !d., pp. 3-4. Though Plaintiffs' counsel made this reply on
16
       November 10, 2016, Defendants' counsel' s only "response" came on December 1,
17
       2016. I d. , p. 3. In this email, Defendants' counsel still did not respond to the
18     November 10, 2016 email, but merely sought an extension of time to file a
19     responsive pleading in the present case. !d.
20               In Defendants ' counsel 's email ofDecember 20, 2016, Defendants ' counsel
21     complained of the shortened time for filing a reply and requested that Plaintiffs '
22     counsel stipulate to a continuance. Jd, p. 1. In response, Plaintiffs ' counsel
23     advised that the shortened time to file a reply is the result of Defendants ' counsel 's

24     choice of hearing date. I d. The response further noted that this choice required

25     Plaintiffs' counsel to file an opposition in the midst of the holiday season and set
       up the reply due date. !d. The reply further noted that when Plaintiffs sought an
26
       extension in order to avoid litigation in two jurisdictions, this request was refused.
27
       I d.
28

                                                   4
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 1
           Though Defendants appear to rely on this email exchange as being of
 2
     significance, as set forth above, the above citations show that the exchange has no
 3   bearing upon the legal issues surrounding Defendants ' Application. Though the
 4   exchange is of no relevance to the matters involved in the Application, it is richly
 5   ironic that Defendants ' counsel, while quick to refuse a request designed to save
 6   the parties the expense of litigation in multiple jurisdictions, is still expectant of
 7   extensions. To compound the irony, when Defendants' counsel did not receive the

 8   apparently expected extension, Defendants' counsel seeks to recast the exchange to

 9   divert the Court's attention from Defendants' counsel' s creation of their own

10   predicament.

11
                                               IV.
12
                                        CONCLUSION
13
           For the above reasons, the Court should deny Defendants ' Application to
14
     Continue Hearing Date.
15
16
     DATED: December 21 , 20 16        DeCARLO & SHANLEY
17                                     A Professional Corporation
18
                                       Is/ Thomas Davis
19
                                       Thomas Davis
20                                     Attorneys for Plaintiffs CARPENTERS
21                                     SOUTHWEST ADMINISTRATIVE
                                       CORPORATION and BOARD OF TRUSTEES
22
                                       FOR THE CARPENTERS SOUTHWEST
23                                     TRUSTS
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                                   PROOF OF SERVICE
                               (Carpenters v. H K B Inc., etc.,)
                           (USDC Case No. CV 16-08040 MWF(SKx))

       I am employed in the County of Los Angeles, State of California. I am over the age of
eighteen years and not a pat1y to the within action. My business address is: DeCARLO &
SHANLEY, a Professional Corporation, 533 S. Fremont Avenue, Ninth Floor, Los Angeles,
California 90071-1706.

       On December 21 , 2016, I electronically filed the following document: PLAINTIFFS'
OPPOSITION TO DEFENDANTS' EX PARTE APPLICATION TO CONTINUE
HEARING DATE. Notice ofthis filing was sent to the interested parties below and to all
registered parties in the action by operation of the Court's electronic filing system. Parties can
access this filing through the Cour1's system.

on Attorneys for Defendants as follows:

James E Holland , Jr- james.holland@stinson.com

Javier Torres- javier.torres@stinson.com,cynthia.fischer@stinson.com,celia.guerrero@stinson.com



                 Executed on December 21, 2016, at Los Angeles, California.


(FEDERAL) I declare that I am employed in the office of a member of the bar of this court at
whose direction the service was made.
